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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3089
                                     )
           v.                        )
                                     )
MARIA D. CARRERA,                    )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     Defendant’s Motion to Restrict, filing 39, is granted and
the Motion to Review Detention and for Placement (filing 40)
shall remain filed as a restricted document.

     DATED this 24th day of September, 2008.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
